            Case 1:22-cr-10038-IT Document 162-1 Filed 02/14/24 Page 1 of 5



                              UNITED STATES DISTRICT COURT
                               DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA                        )
                                                )
                 v.                             )    Criminal No. 22-CR-l 0038-IT
                                                )
ARIEL LEGASSA                                   )
                                                )
                       Defendant.               )

                AFFIDAVIT OF SPECIAL AGENT BRENDAN M. DONLAN

       I, Brendan M. Donlan, do hereby declare and state:

        1.      I am a Special Agent of the Federal Bureau ofInvestigation   ("FBI") and have been

so employed since 2009. I am currently assigned to the FBI's Boston Field Office and to the

Corporate and Securities Fraud group within that office. My duties include the investigation of

violations of federal law, including investment fraud, money laundering, mail fraud, wire fraud,

and other financial crimes.   I received training at the FBI Academy in Quantico, Virginia in a

variety of investigative and legal matters.

       2.       I submit this affidavit in support of the United States' Motion for a Preliminary

Order of Forfeiture.

       3.       Since approximately January 2022, I have investigated the defendant Ariel Legassa

(LEGASSA) for crimes including mail fraud, in violation of 18 U.S.C. § 1341 and money

laundering, in violation of 18 U.S.C. § 1957.

       4.       The information contained in this affidavit is based on my knowledge of this

investigation and conversations     with other agents, the review records, documents, and other

evidence obtained during the investigation, my personal knowledge and observations, and my

training and experience.
            Case 1:22-cr-10038-IT Document 162-1 Filed 02/14/24 Page 2 of 5



       5.       Between approximately    April 1, 2021 and November       23, 2021, LEGASSA

deposited a total of $575,500 in funds received from NESN by mail into an account at Santander

Bank in the name of Alley CT that he controlled (the "Santander Account").    Between February

2021 and January 2022, the only deposits into the Santander Account were the NESN checks

issued to Alley CT, a $100 account opening deposit, and a $4,000 deposit on May 20,2021.

       6.       Between April 16, 2021 and December 7,2021, LEGASSA sent five wire transfers

totaling approximately $156,000 from the Santander Account to an account in his and his wife's

name at the American Broadcast Employees Federal Credit Union account number ending in x750

(the "750 Account").   LEGASSA was listed as the beneficiary of these five wire transfers and all

the wires were sent to the 750 Account (Checking). The 750 Account as well as another account

at American Broadcast Employees Federal Credit Union held in the name of Nilda Legassa,

account number ending in x4170 (the "4170 Account") had a "Prime Share," or savings account,

and a "Basic Share Draft," or checking account.

       7.       As detailed below, LEGASSA then transferred some of the funds to the 750

Account (Savings) and also spent some of the funds on loan payments.

                a.     On or about April 16,2021, LEGASSA wired $26,000 from the Santander

                Account to the 750 Account (Checking).      That same day, LEGASSA made a

                $12,856.53 payment on a car loan associated with the 4170 Account. Additionally,

                LEGASSA made a $9,232.21 payment on an additional car loan associated with

                the 4170 Account.




                                                  2
         Case 1:22-cr-10038-IT Document 162-1 Filed 02/14/24 Page 3 of 5




              b.      On or about May 11, 2021, LEGASSA wired $60,000 from the Santander

              Account to the 750 Account (Checking).!      That same day, LEGASSA made the

              following payments: (1) a $12,911.16 payment and $9,134.92 payment to satisfy

              two outstanding loans associated with the 4170 Account, (2) a $12,543.05 payment

              to satisfy an outstanding loan associated with the 750 Account, (3) a $20,000

              payment towards the balance on a credit card held by Nilda Legassa at American

              Broadcast Employees Federal Credit Union, and (4) a $4,300 transfer to the 4170

              Account (Checking).

              c.      On or about July 12, 2021, LEGASSA wired $45,000 from the Santander

              Account to the 750 Account (Checking).      That same day, he transferred $18,000

              from 750 Account (Checking) to the 750 Account (Savings). On or about July 16,

              2021, LEGASSA also transferred $10,000 from the 750 Account (Checking) to the

              750 Account (Savings). On or about July 30, 2021, LEGASSA transferred $6,000

              from the 750 Account (Checking) to the 750 Account (Savings).2

              d.      On or about November         4, 2021, LEGASSA     wired $8,500 from the

              Santander Account to the 750 Account (Checking).     That same day, he transferred

              $12,000 from the 750 Account (Checking) to the 750 Account (Savings).

              e.      On or about December 7, 2021, LEGASSA            wired $17,000 from the



! LEGASSA was charged and convicted of money laundering in connection with this transaction
(Count Nine).
2 LEGASSA appears to have routinely received direct deposit salary payments from NESN into
the 750 Account (Checking). On or about July 16, 2021, LEGASSA received a direct deposit
salary payment of $6,934.93 from NESN into the 750 Account (Checking). This brought the
account balance to $34,169.09. On or about July 30, 2021, LEGASSA received a direct deposit
salary payment of$6,967.50 into the 750 Account (Checking). This brought the account balance
to $28,575.30. Each one of these salary direct deposits took place prior to the transfer from the
750 Account (Checking) to the 750 Account (Savings) described above.
                                               3
        Case 1:22-cr-10038-IT Document 162-1 Filed 02/14/24 Page 4 of 5




               Santander Account to the 750 Account (Checking). On or about December 9,2021,

               LEGASSA made a $14,000 payment towards the balance on a credit card held by

               Nilda Legassa at the American Broadcast Employees Federal Credit Union.

       8.      As reflected above, between approximately July 12,2021 and December 7,2021,

shortly after receiving funds from the Santander Account into the 750 Account (Checking),

LEGASSA transferred a total of $46,000 to the 750 Account (Savings).

       9.      On or about July 1,2021, the 750 Account (Savings) had a balance of $7,472.45.

On or about July 31,2021, the 750 Account (Savings) account had a balance of $47,472.45. From

approximately July 31, 2021 through January 10,2022, at no point, did the 750 Account (Savings)

account drop below $47,000.

       10.     On or about January 1,2022, the 750 Account (Savings) account had a balance of

$108,166.82.

       11.     On January 6, 2022, NESN fired LEGASSA.        Prior to terminating LEGASSA's

employment, NESN confronted LEGASSA about the suspected fraudulent invoices in the name

of Alley CT.

       12.     On or about January 10, 2022, LEGASSA transferred $79,625.96 from the 750

Account (Savings) to the 4170 Account (Savings).    Prior to the transfer, on or about January 5,

2022, the 4170 Account (Savings) held $1,757.91.

       13.     On or about January 20, 2022, the American Broadcast Employees Federal Credit

Union froze the then-balance of the 4170 Account.   At that time, bank records indicate that the

4170 Account (Savings) had a balance of approximately       $64,469.52 and the 4170 Account

(Checking) had a balance of approximately $12,767.25.




                                               4
         Case 1:22-cr-10038-IT Document 162-1 Filed 02/14/24 Page 5 of 5




       14.     Based on the investigation, I understand that the American Broadcast Employees

Federal Credit Union allowed Nilda Legassa to make subsequent deposits in the 4170 Account

and to only withdraw funds up to the amount deposited post the January 20,2022 freeze.

       15.     On March 29, 2022, pursuant to a seizure warrant issued by Magistrate Judge

Hennessey, the United States seized $46,000 in funds held in or on behalf of American Broadcast

Employees Federal Credit Union Prime share accounts ending in x4170. See 22-MJ-4113-DHH.

       16.     These funds ($46,000) represent a portion of the amount of money that LEGASSA

transferred from the Santander Account to the 750 Account and then, after learning of his

termination from NESN, represent a portion of the total funds that he transferred to 4170 Account

(Savings) that remained in that account.



       Pursuant to 28 U.S.C. § 1748, I declare under the penalty of perjury that the foregoing is

true and correct to the best of my knowledge, information, and belief.

                                             Executed February 14,2024.




                                             BfelldanDoIllcm
                                             Special Agent
                                             Federal Bureau of Investigation




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